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             In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                 (Filed: August 11, 2017)
                                       No. 14-803V

* * * * * * * * * * * * *
THOMAS WATLINGTON,      *                                     UNPUBLISHED
                        *
         Petitioner,    *                                     Decision on Joint Stipulation;
                        *                                     Acute Disseminated
v.                      *                                     Encephalomyelitis (“ADEM”);
                        *                                     Spinal Cord Inflammation;
SECRETARY OF HEALTH     *                                     Transverse myelitis (“TM”);
AND HUMAN SERVICES,     *                                     Tetanus-diphtheria-acellular
                        *                                     Pertussis (“Tdap”) Vaccine.
         Respondent.    *
                        *
* * * * * * * * * * * * *
Mark Sadaka, Mark T. Sadaka, LLC, Englewood, NJ, for petitioner.
Adriana Teitel, US Department of Justice, Washington, DC, for respondent.

                            DECISION ON JOINT STIPULATION1

Roth, Special Master:

        On September 2, 2014, Thomas Watlington [“Mr. Watlington” or “petitioner”] filed a
petition for compensation under the National Vaccine Injury Compensation Program.2 Petitioner
alleges that he developed acute disseminated encephalomyelitis (“ADEM”), spinal cord
inflammation, and/or transverse myelitis (“TM”) after receiving a tetanus-diphtheria-acellular
pertussis (“Tdap”) vaccine on October 31, 2011. See Stipulation, filed Aug. 10, 2017, at ¶¶ 1-4.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I
intend to post this decision on the United States Court of Federal Claims' website, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified
as amended at 44 U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), a party
has 14 days to identify and move to delete medical or other information, that satisfies the criteria
in 42 U.S.C. § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a motion for
redaction must include a proposed redacted decision. If, upon review, I agree that the identified
material fits within the requirements of that provision, I will delete such material from public
access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2012).


                                                  1
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Respondent denies that the aforementioned immunization caused any of petitioner’s injuries.
Stipulation at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On August 10, 2017, the parties
filed a joint stipulation agreeing to settle this case and describing the settlement terms.

Respondent agrees to issue the following payment:

           A lump sum of $140,000.00 in the form of a check payable to petitioner, Thomas
           Watlington. This amount represents compensation for all damages that would be
           available under § 300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The clerk of the court is directed to enter judgment in
accordance with this decision.3

IT IS SO ORDERED.

                               s/ Mindy Michaels Roth
                                  Mindy Michaels Roth
                                  Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a
notice renouncing the right to seek review.
                                                 2
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